                UNITED STATES DISTRICT COURT
         FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                 CASE NO. 20-CV-954-WO-JLW

                                   )
FARHAD AZIMA,                      )
                                   )
                Plaintiff,         )
                                   )
                     v.            )
                                   )
NICHOLAS DEL ROSSO and             )
VITAL MANAGEMENT SERVICES,         )
INC.,                              )
                                   )
                Defendants.        )

       DEFENDANTS’ PARTIAL OBJECTION TO THE ORDER AND
RECOMMENDATION ON DEFENDANTS’ MOTION TO DISMISS PURSUANT TO
                       RULE 12(b)(6)




   Case 1:20-cv-00954-WO-JLW Document 57 Filed 08/23/21 Page 1 of 22
                              OBJECTION

    Plaintiff Farhad Azima filed a lawsuit in federal court

more than four years before this one, in September 2016,

alleging that his email account was hacked.           See Azima v. RAK

Inv. Auth., Case No. 16–cv–01948 (D.D.C.).              He filed this

lawsuit in October 2020 based on the same alleged hacking

incident.    Each of his claims here has a limitations period

of less than four years.          This limited objection explains

that this Court should take judicial notice of Azima’s prior

federal complaint, which establishes a fatal 2016 accrual

date for the four claims that the Magistrate Judge would allow

to survive dismissal.      Adding those four claims to the seven

that the Magistrate Judge has already correctly recommended

dismissing would result in this case’s complete dismissal.

    Defendants urged, and Azima did not dispute, that this

Court may take judicial notice of his 2016 complaint, but the

Magistrate Judge did not consider whether it or other matters

of public record were noticeable.          The Magistrate Judge er-

roneously concluded that this Court cannot take cognizance of

the 2016 lawsuit because Azima did not mention it on the “face

of” his complaint, and therefore recommended allowing four of




    Case 1:20-cv-00954-WO-JLW Document 57 Filed 08/23/21 Page 2 of 22
Azima’s claims to survive dismissal because Azima’s complaint

here did not acknowledge his earlier lawsuit. Prior pleadings

in federal courts are readily noticeable, and routinely no-

ticed.   Noticeable material is “deemed to be a part of every

complaint by implication.”       Thus, the Magistrate Judge’s rec-

ommendation to this Court that it should ignore the prior

complaint is incorrect. This Court should instead take notice

of Azima’s prior lawsuit on the same subject as this one and

conclude that the four claims that survived the Magistrate

Judge’s Order and Recommendation (“Recommendation” or “O&R”)

be dismissed as time-barred.

                              BACKGROUND

    This case relates to a pair of cases filed in 2016 between

Plaintiff Azima and non-party Ras Al Khaimah Investment Au-

thority (“RAKIA”).       Azima alleges that in September 2016,

RAKIA’s lawyers provided Azima with “some of the emails” that

Azima alleges were stolen in the hacking incident, and alerted

him that it was considering litigation against him.               Dkt. 1

(“Compl.”) ¶ 33.     Thereafter, RAKIA sued Azima for fraud in

England in September 2016.         See, e.g., id. ¶¶ 7-8, 33-36.

Central to this objection, on the same day he himself was

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    Case 1:20-cv-00954-WO-JLW Document 57 Filed 08/23/21 Page 3 of 22
sued, Azima counter-sued in federal district court in Wash-

ington, D.C.    See Dkt. 31-5 (“D.C. Compl.”).         The gravamen of

Azima’s complaint there, filed on September 30, 2016, was

that RAKIA’s agents had “hacked” his computer and “illegally

misappropriated and stolen” “a massive volume of [his] emails

and other electronic data”.       See id. ¶¶ 10,      27(a), (c).       The

D.C. Circuit ultimately ordered that case dismissed.               Azima

v. RAK Inv. Auth., 926 F.3d 870, 880 (D.C. Cir. 2019).

    Azima filed his complaint in this case on October 15,

2020.   The gravamen of his complaint here is that Defendants,

a North Carolina investigative firm and its owner, were hired

by RAKIA’s lawyers at Dechert LLP to coordinate the same

hacking effort that was the subject of the D.C. complaint.

Compl. ¶¶ 44-139.1




    1 The Magistrate Judge correctly recommended the dismis-
sal of seven of Azima’s eleven counts. The four remaining
claims are for putative trade-secret misappropriation under
the Defend Trade Secrets Act, 18 U.S.C. § 1836 (Count III)
and the North Carolina Trade Secrets Protection Act, N.C.
Gen. Stat. § 66-153, et seq. (Count VIII); intrusion upon
seclusion (Count XI); and, derivatively, civil conspiracy
(Count X). See Dkt. 54 (O&R) at 1, 8-9, 21-25, 28-29, 31-
33; see also Compl. ¶¶ 59-74, 101-18, 130-39.
                                   3




    Case 1:20-cv-00954-WO-JLW Document 57 Filed 08/23/21 Page 4 of 22
    Defendants’ motion to dismiss urged that Azima’s entire

complaint should be dismissed as time-barred.           As relevant to

this objection, the motion observed that Azima’s causes of

action for misappropriation of trade secrets and intrusion

upon seclusion accrued on the date Azima became aware that

his computer had been hacked.       Dkt. 32 (“Mot.”) at 8.       Azima’s

filing of his D.C. hacking lawsuit in September 2016 showed,

the motion argued, that he was aware of the hacking no later

than that date.     Id. at 4-5, 7-10.       And a federal court may

take judicial notice of a federal pleading, see id. at 4 n.3

and may consider noticeable material as if it were alleged in

the complaint, see id. at 4 n.3, 9-10, the motion concluded,

so Azima’s filing of the D.C. complaint was properly before

the court.

    In his opposition, Azima did not dispute that his 2016

complaint and the public record were noticeable or that such

information could be considered in connection with the motion

to dismiss.     Nor did he dispute that he knew he had been

hacked by September 2016.          Dkt. 34 at 3-6.        His argument

instead was that the limitations periods should be tolled for



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    Case 1:20-cv-00954-WO-JLW Document 57 Filed 08/23/21 Page 5 of 22
fraudulent concealment or that new claims arose from the al-

leged later-in-time re-publication of his materials.              Id. at

4-7.

       The Recommendation, however, does not recommend that this

Court take notice of the D.C. complaint.          It does not address

or assess whether the complaint is a noticeable document.               It

concludes instead that on a motion to dismiss that raises a

statute-of-limitations defense, the reviewing court is lim-

ited to the “face of Plaintiff’s complaint,” without regard

to any noticeable material.         See O&R at 6-7, 9.          Applying

that rule, because Azima’s complaint did not “mention the

lawsuit he filed in the District of Columbia,” the Magistrate

Judge was “unable to determine from the face of Plaintiff’s

complaint precisely when such claims accrued” and thus did

not recommend dismissing several claims (i.e., Counts III,

VIII, X, and XI).     Id. at 6, 8-9.2



      This objection relates solely to the four counts that
       2

would survive under the Recommendation; the Magistrate Judge
correctly recommended dismissing the other seven counts of
Azima’s Complaint. See Souter v. Jones, 395 F.3d 577, 586
(6th Cir. 2005) (a party does not need to file objections to
adverse portions of the report if “he prevailed on the overall
recommendation”).
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    Case 1:20-cv-00954-WO-JLW Document 57 Filed 08/23/21 Page 6 of 22
     For the reasons set forth below, the Recommendation’s

conclusion that this Court may not consider judicially no-

ticeable material in evaluating Defendants’ statute-of-limi-

tations argument is erroneous, and this Court should grant

dismissal as to all counts of the Complaint.

                           STANDARD OF REVIEW

     28 U.S.C. § 636(b)(1) calls for this Court to make a “de

novo determination” on issues in the Recommendation to which

an objection has been made.         28 U.S.C. § 636(b)(1); Fed. R.

Civ. P. 72(b).

                                ARGUMENT

I.   Excluding Judicially Noticeable Material Is Erroneous
     Under Binding Precedent.

     A   federal   court    deciding    a   motion   to   dismiss    under

12(b)(6) generally considers, in addition to the factual al-

legations of the complaint, documents incorporated by refer-

ence and judicially noticeable material.               Philips v. Pitt

Cty. Mem’l Hosp., 572 F.3d 176, 180 (4th Cir. 2009).                “[T]he

most frequent use of judicial notice of ascertainable facts

is in noticing the content of court records.”             Colonial Penn

Ins. Co. v. Coil, 887 F.2d 1236, 1239-40 (4th Cir. 1989)


                                    6




     Case 1:20-cv-00954-WO-JLW Document 57 Filed 08/23/21 Page 7 of 22
(internal citation and quotation marks omitted) (taking ju-

dicial notice of guilty pleas entered in state court during

pendency of appeal).       Under that rule, this Court can and

should take judicial notice of the fact that Azima filed a

lawsuit in 2016 arising from the same incident of hacking as

here, and conclude that he therefore plainly knew of the

hacking by the time of that suit and that his claims are

therefore time-barred.

    Here, the Magistrate Judge appeared to conclude, without

analysis, that a narrower rule should apply to any portion of

a motion to dismiss that is based on an affirmative defense.

For unspecified reasons, the Magistrate Judge would have this

Court hold that on such an issue it is strictly and literally

limited to the “face of Plaintiff’s complaint,” without re-

gard to incorporated documents or judicially noticeable ma-

terial.   O&R at 6-9.

    Respectfully, no case so holds, and that is not the law.

Federal Rule of Evidence 201 is clear that judicial notice is

appropriate “at any stage of the proceeding.”            Fed. R. Evid.

201(d); see also Philips, 572 F.3d at 180.          The Supreme Court

and the Fourth Circuit have been equally clear in holding
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    Case 1:20-cv-00954-WO-JLW Document 57 Filed 08/23/21 Page 8 of 22
repeatedly that on a 12(b)(6) motion to dismiss, the court

“may properly take judicial notice of matters of public rec-

ord.”   Philips, 572 F.3d at 180.3             Judicially noticeable

matters are “deemed to be a part of every complaint by im-

plication.”    5B Charles Alan Wright & Arthur R. Miller, Fed-

eral Practice and Procedure § 1357 (3d ed.).

    No case modifies this rule, articulated in binding Su-

preme Court and Circuit precedent, when a motion to dismiss

argues for dismissal on the basis of an affirmative defense

such as statute of limitations.         The Magistrate Judge relied

on cases stating that the basis for an affirmative defense

must appear “on the face of the complaint.”            O&R at 6.    None




    3  See also, e.g., Tellabs v. Makor Issues Rights, 551
U.S. 308, 322 (2007) (“matters of which a court may take
judicial notice” are considered on 12(b)(6) motion); Papasan
v. Allain, 478 U.S. 265, 268 n.1 (1986) (on a 12(b) motion,
courts may “tak[e] notice of items in the public record”);
Hall v. Virginia, 385 F.3d 421, 424 n.3 (4th Cir. 2004) (tak-
ing judicial notice on a 12(b)(6) motion to dismiss of pub-
licly available voting population statistics); Greene v. Mul-
lis, 829 F. App’x 604, 605 (4th Cir. 2020) (per curiam)
(courts may “take judicial notice of . . . filings” in “prior
cases”); Witthohn v. Fed. Ins. Co., 164 F. App’x 395, 397
(4th Cir. 2006) (“A district court may clearly take judicial
notice of [court] records.”)
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    Case 1:20-cv-00954-WO-JLW Document 57 Filed 08/23/21 Page 9 of 22
of those cases excluded judicially noticeable material from

consideration.

    Instead the point of each of the cited cases is merely

that affirmative defenses ordinarily have to be proven by the

defendant, but can be decided on a motion to dismiss if the

facts necessary to resolve them are before the court on the

motion to dismiss.     See, e.g., Goodman v. Praxair, Inc., 494

F.3d 458, 464 (4th Cir. 2007) (“[W]here facts sufficient to

rule on an affirmative defense are alleged in the complaint,

the defense may be reached by a motion to dismiss filed under

Rule 12(b)(6)” if the necessary facts “clearly appear[] on

the face of the complaint.” (emphasis omitted)).

    While these courts refer to the relevant facts being

present “on the face of the complaint” because there was no

claim in those cases that the court should look to extraneous

materials, none considered whether other, ordinarily cogniza-

ble materials could similarly establish an affirmative de-

fense.4   The one exception is Morrison v. George E.B. Holding,



    4 The Magistrate Judge was incorrect that the burden to
show that Azima’s claims were time-barred lay with Defend-
ants. The very Goodman decision that the Magistrate Judge
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   Case 1:20-cv-00954-WO-JLW Document 57 Filed 08/23/21 Page 10 of 22
2012 WL 1132787, at *3 (E.D.N.C. Apr. 4, 2012), which ex-

pressly approved looking beyond the complaint:               The court

there, in an alternative holding, held that although an af-

firmative defense must generally “appear on the face of the

complaint . . . the Court may also consider information in

the public record when reviewing a motion to dismiss pursuant

to Rule 12(b)(6),” and found the claim at issue to be time-

barred.

    Other than the favorable decision in Morrison, those

courts did not consider whether noticeable facts could serve

equally well to pleaded facts in supporting a statute-of-

limitations ruling, so they have no bearing on that question.

Contrary to the rule suggested by the Magistrate Judge, courts




cited acknowledges that the plaintiff may have an affirmative
obligation to plead facts to support tolling where the conduct
at issue is old enough that the “claim is filed clearly beyond
the applicable limitations period and the plaintiff seeks to
forestall its dismissal by alleging the facts of discovery.”
Goodman, 494 F.3d at 466 (emphasis omitted).      That is the
case here, because the purported hacking is alleged to have
taken place no later than 2016. Compl. ¶¶ 20, 32-33. The
2020 initiation of this case is thus “clearly beyond the
applicable limitations period.” Under Goodman, it was Azima
who had the burden to plead facts showing deferred discovery
sufficient to preserve his claims.
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   Case 1:20-cv-00954-WO-JLW Document 57 Filed 08/23/21 Page 11 of 22
within this Circuit, and elsewhere, routinely take judicial

notice of prior lawsuits filed by plaintiffs in order to

adjudicate statutes of limitations defenses on 12(b)(6) mo-

tions to dismiss:

       • In Allen v. AstraZeneca Pharmaceuticals LP, 2015 WL
         4749146, at *2 (E.D.N.C. Aug. 11, 2015), the court
         took notice that the plaintiff had filed a substan-
         tially similar lawsuit against the defendants more
         than three and a half years earlier, and held that
         the “[t]he public records associated with this case
         establish that this action is barred by the appli-
         cable [three-year] statute of limitations.”

       • In Staffing Advantage LLC v. Definitive Staffing
         Solutions, Inc., 2021 WL 2426340, at *2 n.2 & *7
         (E.D.N.C. June 14, 2021), the court took “judicial
         notice of the fact that Defendant sued Plaintiff for
         other issues arising out of the Agreement within the
         limitations period” in a prior litigation, which the
         court held “show[ed] that had Defendant wished to
         bring claims based upon a lack of insurance cover-
         age, it had ample opportunity to do so, but did
         not,” and held the counterclaim time-barred.

       • In Mobley v. Estes, 2018 WL 704900, at *4 (M.D.N.C.
         Feb. 2, 2018), the court took judicial notice of a
         state court case dismissal against plaintiff and
         dismissed the claim as time-barred.

       • In Moore v. Bertie County Board of Education, 2019
         WL 6337557, at *3 n.2 (E.D.N.C. Nov. 26, 2019), the
         court took judicial notice of the date of plain-
         tiff’s earlier filings with the EEOC on the same
         subject matter, and dismissed related claims as
         time-barred.


                                  11




   Case 1:20-cv-00954-WO-JLW Document 57 Filed 08/23/21 Page 12 of 22
       • In Sayman v. Lehman Bros. FSB, 2014 WL 868711, at
         *1 n.1 (W.D.N.C. Mar. 5, 2014), the court took ju-
         dicial notice of county records and dismissed the
         related claims as time-barred.

       • In Watkins v. United States, 854 F.3d 947, 949-51
         (7th Cir. 2017), the plaintiff sued certain defend-
         ants in state court on her medical malpractice
         claims. She voluntarily dismissed that suit, and
         later refiled against different defendants in fed-
         eral court. The Seventh Circuit court held that the
         district court properly took judicial notice of the
         fact that plaintiff had filed the prior lawsuit as-
         serting essentially the same allegations/claims such
         that she was on notice of her claims by at least
         that date.

       • In Arbogast v. Kansas, 752 F. App’x 582, 585 n.1,
         586 (10th Cir. 2018), the plaintiff sued a state
         agency for wrongful termination, but that suit was
         dismissed for lack of a proper defendant; when she
         later refiled against the State of Kansas, the Tenth
         Circuit took judicial notice of her prior complaint
         in holding that she was on earlier notice of her
         claims and that those claims were time-barred.

    The Fourth Circuit also has expressly approved taking

judicial notice in adjudicating other affirmative defenses.

See e.g., Q Intern. Courier Inc. v. Smoak, 441 F.3d 214, 216

(4th Cir. 2006) (judicial notice available on motion to dis-

miss based on res judicata); Andrews v. Daw, 201 F.3d 521,

524 n.1 (4th Cir. 2000) (same).           These holdings cannot be

reconciled with the Magistrate Judge’s understanding that

with respect to an affirmative defense, the relevant facts
                                  12




   Case 1:20-cv-00954-WO-JLW Document 57 Filed 08/23/21 Page 13 of 22
must specifically appear on the “face of the complaint” rather

than in judicially noticeable materials.

    As these many examples show, affirmative defenses are

instead assessed using the usual rules for deciding a motion

to dismiss under 12(b)(6), and judicially noticeable facts

are a fair and ordinary basis for deciding whether a plain-

tiff’s claims are time-barred.         Indeed, as noted, Wright &

Miller’s formulation of the rule governing noticeable mate-

rial is that such material is “deemed to be a part of every

complaint by implication.”         Wright & Miller § 1357.              The

Supreme Court has specifically cited that same section of

Wright & Miller with approval in observing that noticeable

material may be considered on a motion to dismiss.            See Tell-

abs, 551 U.S. at 322.        Under that formulation, noticeable

material is deemed to appear on the “face of the complaint”

and so would satisfy even the Magistrate Judge’s restrictive

understanding of what may be considered on a motion to dis-

miss.

    In sum, it is respectfully submitted that the Magistrate

Judge’s recommendation that this court ignore Azima’s filing

of his 2016 lawsuit is not supported by the cases that the
                                  13




   Case 1:20-cv-00954-WO-JLW Document 57 Filed 08/23/21 Page 14 of 22
Magistrate Judge cited and is contrary to Supreme Court and

Fourth Circuit precedent plainly allowing noticeable material

to be considered on a motion to dismiss like this one.              This

Court should not adopt that rule, and should take notice of

the 2016 filing.

II. Azima’s Filing Of His 2016 Complaint Undisputedly Shows
    That He Was Aware Of The Hacking, And Bars His Claims.

    With notice thus properly taken of Azima’s 2016 com-

plaint, his claims arising from the alleged incident of hack-

ing fall outside the applicable statutes of limitations.                As

the Magistrate Judge recognized, see O&R at 8-9, each of the

surviving claims accrued no later than when Azima knew he was

hacked:

       • Federal trade secret misappropriation.     Suit “may
         not be commenced later than 3 years after the date
         on which the misappropriation . . . is discovered
         or by the exercise of reasonable diligence should
         have been discovered.” 18 U.S.C. § 1836(d). Mis-
         appropriation means the “acquisition” or “disclosure
         or use” of the trade secret, 18 U.S.C. § 1839(5),
         and here the filing of the 2016 hacking complaint
         shows that Azima “discovered” the misappropriation
         no later than September 2016. Alta Devices, Inc.
         v. LG Elecs., Inc., 2019 WL 1924992, at *10-14 (N.D.
         Cal. Apr. 30, 2019) (finding misappropriation claim
         time-barred where plaintiff “was on inquiry notice
         of potential misappropriation of trade secrets” more
         than three years before the complaint was filed).

                                  14




   Case 1:20-cv-00954-WO-JLW Document 57 Filed 08/23/21 Page 15 of 22
       • North Carolina trade secret misappropriation. The
         state misappropriation claim is similar: “[a]n ac-
         tion for misappropriation of a trade secret must be
         commenced within three years after the misappropri-
         ation complained of is or reasonably should have
         been discovered.” N.C. Gen. Stat. § 66-157. So his
         claim also accrued by the time Azima learned that a
         third party was in possession of his trade secrets.

       • Privacy.   Azima’s common law invasion of privacy
         claim follows a similar rule and accrues when “dam-
         age to his property becomes apparent or ought rea-
         sonably to have become apparent.” N.C. Gen. Stat.
         § 1–52(16); see also O&R at 8 n.2 (citing same).

       • Conspiracy. Conspiracy allegations are subject to
         the limitations period applicable to the underlying
         tort. See Mot. at 8 n.4 (citing BDM Invs. v. Lenhil,
         Inc., 826 S.E.2d 746, 764 (N.C. Ct. App. 2019)).

    Azima’s 2016 complaint demonstrates that he was aware,

at the time of its filing, that he had been hacked.              There,

as here, he alleged that “RAKIA, directly or through its

agents, caused computers located in the United States . . .

to be hacked and such data to be stolen and misappropriated

without Mr. Azima’s consent or permission,” and that “RAKIA

and its agents caused misappropriated and stolen data of Mr.

Azima and his business associates to be posted to and main-

tained on BitTorrent websites and related micro-sites.”             D.C.

Compl. ¶¶ 27(a), (c); see also Compl. ¶¶ 6, 7, 21, 49.


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   Case 1:20-cv-00954-WO-JLW Document 57 Filed 08/23/21 Page 16 of 22
    Indeed, in ruling on RAKIA’s motion to dismiss Azima’s

first amended complaint in the D.C. lawsuit, the D.C. court

recognized that “[o]n September 23, 2016, Azima’s counsel in

Washington D.C. received a letter[,]” which was based “on

information that RAKIA had ‘recently obtained . . . via pub-

licly available internet sources.’”           D.D.C. Dkt. 41 at 7.

The D.C. court acknowledged that RAKIA explained it accessed

the data “legally through publicly available BitTorrent web-

sites,” id., and it is undisputed that RAKIA’s lawyers dis-

closed those BitTorrent websites to Azima’s counsel on Sep-

tember 29, 2016, see D.D.C. Dkt. 13-8; see also Compl. ¶ 33

(representing that in September 2016, RAKIA’s lawyers pro-

vided Azima with “some of the emails” that Azima alleges were

stolen in the hacking incident, and alerted him that it was

considering litigation against him).

    Because each of the surviving claims has a 3-year limi-

tations period,5 and Azima did not initiate this action until



    5 See 18 U.S.C. § 1836(d) (Count III, federal misappro-
priation of trade secrets); N.C. Gen. Stat. § 66-157 (Count
VIII, state misappropriation of trade secrets); N.C. Gen.
Stat. § 1-52(5) (Count XI, offensive intrusion upon seclu-
sion; BDM Invs., 826 S.E.2d at 764 (Count X, conspiracy).
                                  16




   Case 1:20-cv-00954-WO-JLW Document 57 Filed 08/23/21 Page 17 of 22
October 15, 2020 — more than three years after September 30,

2016 — his claims are time-barred and should be dismissed.6

The Magistrate Judge’s recommendation that this Court not

take notice of his prior lawsuit would constitute error, and

this Court should decline to adopt that portion of the Rec-

ommendation and instead dismiss Azima’s complaint in full as

time-barred.

III. Separately, The Trade Secrets Statutes Do Not Create
     Claims For Liability.

    Finally, the Magistrate Judge erred in recommending that

the federal and state trade secret claims should proceed,



    6  Azima’s conclusory allegations that an unidentified
person posted new links to his material in 2018 and 2019 do
not save his claims. Azima’s allegations simply do not link
Defendants to the alleged 2018-19 conduct, so that conduct
cannot be the basis for any claim against Defendants. See
Compl. ¶¶ 24, 53, 93, 98.     Further, trade secrets claims
accrue with the original incident:     for example, the DTSA
expressly provides that “a continuing misappropriation con-
stitutes a single claim of misappropriation” with respect to
accrual of the claim.    18 U.S.C. § 1836(d); see also Alta
Devices, Inc., 2019 WL 1924992, at *14 (later acts of mis-
appropriation did not save claims from being time-barred).
And, as the Magistrate Judge found, the 2018-19 internet ac-
tivity did not involve invasion of privacy, see O&R at 11-
12, 16 n.5; see also Compl. ¶¶ 20, 32, 136-39, so could not
revive Azima’s intrusion upon seclusion claim.     The Magis-
trate Judge was also correct to conclude that Azima failed to
allege the elements of fraudulent concealment. O&R at 16.
                                  17




   Case 1:20-cv-00954-WO-JLW Document 57 Filed 08/23/21 Page 18 of 22
because the statutes do not authorize claims for aiding and

abetting.    See, e.g., Steves & Sons, Inc. v. JELD-WEN, Inc.,

271 F. Supp. 3d 835, 842-43 (E.D. Va. 2017) (dismissing DTSA

claim where plaintiff alleged defendant paid third parties to

steal trade secrets); Salon Blu, Inc. v. Salon Lofts Grp.,

LLC, 2018 WL 3467901, at *6 (N.C. Super. Ct. July 16, 2018)

(dismissing N.C. trade secrets claim based on allegations

that defendant “encouraged and induced” third parties to mis-

appropriate trade secrets).       The Magistrate Judge recognized

this rule for the DTSA claim, see O&R at 22-23, but then

erroneously concluded that primary liability had been stated

based on the “information and belief” allegation in paragraph

19 of the Complaint that “at least some of that data . . .

was provided to Del Rosso, who was located in North Carolina,”

O&R at 23 (citing Compl. ¶ 19).         This does not sufficiently

plead either that Defendants “acqui[red]” Azima’s trade se-

cret or that they “kn[e]w or ha[d] reason to know that the

trade     secret    was   acquired     by   improper       means.”      18

U.S.C. § 1839(5)(A);      see   also    N.C.    Gen.    Stat.    §      66-

152(1).     The Recommendation simply and erroneously failed to

address    this    claim-dispositive    argument    with    respect     to
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   Case 1:20-cv-00954-WO-JLW Document 57 Filed 08/23/21 Page 19 of 22
Azima’s state trade secret claim.          The trade-secrets claims

should be dismissed for this separate reason.

                             CONCLUSION

    For these reasons, Defendants respectfully request that

this Court decline to adopt the Recommendation as to the

narrow grounds set forth herein, Dkt. 54, and instead grant

Defendants’ Motion to Dismiss, Dkt. 31, in full and dismiss

the Complaint with prejudice.



    Respectfully submitted this 23rd day of August, 2021.

                           NELSON MULLINS RILEY &
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                                  19




   Case 1:20-cv-00954-WO-JLW Document 57 Filed 08/23/21 Page 20 of 22
                     WORD COUNT CERTIFICATION

     Pursuant to Local Rule 72.4, I hereby certify, subject
to Fed. R. Civ. P. 11, that the accompanying brief contains
3,862 words, according to the word count feature of the word
processing system used to prepare the brief. Accordingly, the
brief does not exceed the 6,250 word limitation.

    Respectfully submitted this 23rd day of August, 2021.

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                                  20




   Case 1:20-cv-00954-WO-JLW Document 57 Filed 08/23/21 Page 21 of 22
                      CERTIFICATE OF SERVICE

     I hereby certify that on this 23rd day of August 2021, I
electronically filed the foregoing Defendants’ Partial
Objection to the Order and Recommendation on Defendants’
Motion to Dismiss Pursuant to Rule 12(b)(6) with the Clerk of
the Court using the CM/ECF system, which will send electronic
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   Case 1:20-cv-00954-WO-JLW Document 57 Filed 08/23/21 Page 22 of 22
